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UNITED STATES DISTRICT COURT
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WESTERN DISTRICT OF NEW YORK

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                                                                          DISTRlCj^
 ADHAM AMIN HASSOUN,

               Petitioner,                              SCHEDULING ORDER


        V.                                              I:I9-CV-00370 EAW


 JEFFREY SEARLS, in his official
 capacity as Acting Assistant Field Office
 Director and Administrator ofthe Buffalo
 Federal Detention Facility,

               Respondent.


       As discussed at the status conference held on January 17, 2020, the Court sets the

following deadlines:

      (1) By no later than February 6, 2020, the parties shall produce all documents

responsive to the opposing party's discovery demands. This includes Petitioner's A-file,

which Respondent must turn over to Petitioner. Each side must further produce a privilege

log by February 6, 2020, except that Respondent need not produce a privilege log related

to Petitioner's A-file by that date.

      (2) By no later than February 14, 2020, Respondent shall produce a privilege log

related to Petitioner's A-file.


      (3)By no later than February 28, 2020, the parties shall file any motions to compel

or other discovery motions. To the extent Respondent takes the position that the FBI letter

should continue to be maintained under seal or that any portion of the forthcoming


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evidentiary hearing should be elosed to the publie, Respondent shall file a submission

(submitted in camera if necessary) seeking such relief.

      (4) Responses to any motions filed on February 28, 2020, shall be due by no later

than March 9, 2020.

      (5)Oral argument on the anticipated motions is set for March 16, 2020, at 2:00 p.m.

at the United States Courthouse, 100 State Street. Rochester. New York.

      (6) A pre-hearing conference is set for April 21, 2020, at 2:00 p.m. at the United

States Courthouse, 100 State Street, Rochester, New York.

      (7) The deadline for witness lists, exhibit lists, and legal memoranda regarding

evidentiary issues will be discussed at the appearance on March 16, 2020.

      (8) The evidentiary hearing is scheduled to commence on April 28, 2020, at 9:00

a.m. at the United States Courthouse, 2 Niagara Square. Buffalo. New York. The

evidentiary hearing will continue daily thereafter until completed. It is anticipated that the

evidentiary hearing will be completed by May 1, 2020

       SO ORDERED.




                                              ELIZABETH ^WOLF(
                                              JJgiled^tates District Judge

Dated:        January 21, 2020
              Rochester, New York




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